







		NO. 12-08-00070-CV



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: RAQUEL FLORES,

RELATOR§
	ORIGINAL PROCEEDING


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	MEMORANDUM OPINION


PER CURIAM


	Relator Raquel Flores has filed a motion to dismiss this original proceeding.  A copy has
been served on each attorney of record.  In her motion, Flores, in effect, states that the issues in this
proceeding have been rendered moot.  Because Flores has met the requirements of Texas Rule of
Appellate Procedure 42.1(a)(1), the motion is granted, and the original proceeding is dismissed.  

Opinion delivered September 3, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.











(PUBLISH)


